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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 MARCOS LEON, on Behalf of Himself                  §
 and on Behalf of All Others Similarly              §
 Situated,                                          §
                                                    §
         Plaintiff,                                 §
                                                    §       CIVIL ACTION NO. : 4:20-cv-2976
 V.                                                 §
                                                    §
 EB ELITE POWER, LLC, D/B/A ELITE                   §
 POWER, AND BRANDON M. MARTIN                       §
                                                    §
         Defendants.


                        JOINT STIPULATION FOR CERTIFICATION

        Plaintiff Marcos Leon, on behalf of himself and all other similarly situated, and Defendants

EB Elite Power, LLC and Brandon M. Martin (collectively “Parties”) hereby file this Joint

Stipulation for Certification and Notice and request Court approval of such stipulation by signing

below in the space provided.

        Under the terms of the Parties’ Stipulation, Defendants will consent to this Court certifying

this mater as a collective action under the FLSA, 29 U.S.C. § 216(b). The FLSA Class Members

shall consist of the following:

                All unlicensed electrician helpers that worked for Defendant EB Elite
                Power, LLC d/b/a Elite Power from February 1, 2018 to February 1,
                2021.

        By agreeing to this stipulation and class definition, Defendants are not waiving their right

to assert that they are not liable for all or part of any alleged damages that Plaintiff or putative opt-

in Plaintiffs claim to have incurred during this time period or their right to later move for

decertification.

                                                                                                       1
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         The Parties stipulate that Beatriz Sosa-Morris and John Neuman of Sosa-Morris Neuman,

PLLC shall serve as class counsel and that Marcos Leon shall serve as the representative for the

class.

         The Parties stipulate that within Fourteen days (14) days of the Court approving this

stipulation by signing below, Defendants shall, to the extent available, provide to Plaintiff’s

counsel the names, dates of employment, last known addresses, last known personal email

addresses, and last known phone numbers in Defendants’ possession for all Class Members as

defined above.       Defendants shall provide such information in a computer-readable and

manipulatable format, such as a Microsoft Excel Spreadsheet (“Class List”). The Class Members

shall have 60 days after the date the Notice of Rights and agreed Consent Forms are initially sent

to file a Consent to Join form opting into the litigation (“Opt-in Period”). Plaintiff shall provide

opposing counsel with a notice indicating the date on which the Notice forms were sent.

         The Parties stipulate that Plaintiff’s counsel shall send a copy of the agreed Notice of Rights

and agreed Consent Form via first class mail (“mail notice”), email (“email notice”), and text

message (“text notice”) to all persons contained on the list within seven (7) days of receiving the

Class List from Defendants. The form of Notice of Rights and Consent Form are attached hereto

as Exhibit “1.” The Notice and Consent Form are in English and Spanish. The Parties stipulate

that the Notice of Rights and Consent Form are timely, informative, and accurate.

         The Parties stipulate that the mail Notice shall include a self-addressed, stamped envelope.

The exterior of the mailing envelope will state “Important Notice to EB Elite Power Electricians.”

All Consent Forms shall be returned to Plaintiff’s counsel, who will be responsible for filing the

Consent Forms with the Court.




                                                                                                      2
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       The Parties stipulate that the email Notice will include in the body of the email the Notice

of Rights.   The subject line of the email will read “Important Notice to EB Elite Power

Electricians.” The Consent Form will be attached to the email in a PDF format and via a hyperlink.

Any person desiring to join this lawsuit may execute the consent form electronically via the

website www.smnlawfirm.com/ElitePower where the consent form will be available for electronic

execution. A link to the website www.smnlawfirm.com/ElitePower shall be included in the email

Notice via a hyperlink and in the body of the mail Notice. See Exhibit 1. The FLSA Class Members

shall be allowed to execute either a hard copy of the Consent Form or an electronic copy of the

Consent Form.

       The Parties stipulate that the text Notice will state “Court Authorized Notice of Lawsuit

against EB Elite Power. To learn more go to www.smnlawfirm.com/ElitePower.” The text Notice

will include a hyperlink to the website www.smnlawfirm.com/ElitePower where the Notice of

Rights and Consent Form will be found and the Consent Form will be available for electronic

execution. The Parties stipulate that no additional information shall appear on the Notice of Rights

and Consent From than what has already been agreed to between the Parties

       Plaintiff’s counsel shall resend the same notice described above thirty (30) days after the

initial mailing to all FLSA Class Members who have not submitted a Consent Form.

       It is further stipulated that Defendants will not communicate, directly or indirectly, with

any current or former employee who is part of the subject Class about any matters which touch or

concern the settlement of any outstanding wage claims or other matters related to this suit during

the opt-in period. This shall not restrict Defendants from discussing with any employee matters

that arise in the normal course of business.




                                                                                                  3
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       The Parties stipulate that all discovery shall be stayed during the pendency of the opt-in

period in order to allow the Parties to construct a discovery plan after the number of individuals

that join this case is determined.




Signed on February 12, 2021.



                                                 __________________________________
                                                 Gray H. Miller
                                                 Senior United States District Judge




                                                                                                4
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Respectfully Submitted,

For the Plaintiff:                                 For the Defendants:

/s/Beatriz Sosa-Morris                             /s/Kelly Stamy
Beatriz Sosa-Morris                                Kelly N. Stamy
State Bar No. 24076154                             KStamy@thecromeenslawfirm.com
Federal Bar No. 1552137                            SBOT: 24105055
John Neuman                                        FID: 3293442
JNeuman@smnlawfirm.com                             The Cromeens Law Firm
State Bar No. 24083560                             8431 Katy Freeway
SOSA-MORRIS NEUMAN, PLLC                           Houston, Texas
5612 Chaucer Drive                                 Tel: 713-715-7334
Houston, Texas 77005
Telephone: (281) 885-8630
Facsimile: (281) 885-8813


                               CERTIFICATE OF SERVICE

       I certify that I filed the foregoing through the Southern District of Texas CM/ECF system
on February 12, 2021 which will provide a copy to all counsel of record by electronic mail.


                                                   /s/ Beatriz Sosa-Morris
                                                   Beatriz Sosa-Morris




                                                                                              5
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                                  COURT AUTHORIZED NOTICE TO
                                   POTENTIAL CLASS MEMBERS
                                  DEADLINE TO JOIN: _____________
 TO:     All current and former unlicensed electrician helpers that worked for Elite Power in the last three years

 RE:     Lawsuit against Elite Power for Unpaid Wages

 Civil Action Number: 4:20-cv-2976 pending in the United States District Court for the Southern District of
 Texas, Houston Division

 This Notice is to inform you of a collective action lawsuit alleging violations of the Fair Labor Standards Act
 (“FLSA”). The Court presiding over this action has authorized the mailing of this notice to you to afford you the
 opportunity to join this lawsuit.

 1.      Why Are You Getting this Notice?

You are getting this notice because you worked for Elite Power as an unlicensed electrician helper at some point since
February 1, 2018 to the present. A lawsuit was brought against Elite Power on August 25, 2020 alleging that you and
other unlicensed electrician helpers are owed wages under federal law.

 2.      What is this lawsuit about?

 Under the Fair Labor Standards Act, “FLSA,” the federal law that controls the payment of the minimum wage and
 overtime, subject to certain exceptions, an employee must be paid one and one-half times his regular hourly rate of
 pay for every hour worked over 40 in a workweek. The plaintiff in this case alleges that Elite Power violated this rule
 by paying him the same hourly rate for his overtime hours as his non-overtime hours.

 Elite Power denies that it has violated the law and that it owes any of the back pay, damages, costs or attorney's fees
 that are sought. The Court has not yet decided whether Elite Power has done anything wrong or whether this case will
 proceed to trial. However, you have a choice to assert your legal rights in this case.

 3.      Your Right to Join this case

 If you fit the definition above, you may join this case (that is, you may "opt-in") by completing the "Consent to Join
 Collective Action" form and mailing it to the following address:

      SOSA-MORRIS NEUMAN, PLLC                                      Toll Free Phone: 1-844-88 LABOR (52267)
      ELITE POWER CASE                                              Phone: 281-885-8844
      5612 Chaucer Drive                                            Fax: 281-885-8813
      Houston, Texas 77005

 You may also return the Consent to Join Collective Action form by faxing it to 281-885-8813 or completing the form
 online at www.smnlawfirm.com/ElitePower. The form must be received by the lawyers for the Plaintiff by
 _________________(insert date 60 days after mailing). If you fail to timely return the Consent to Join Collective
 Action form, you may not be able to participate in this lawsuit and/or receive a portion of a monetary settlement, if
 any.


 4.      What are your options?
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If you choose to join in this case, you are eligible to participate in a settlement for unpaid wages, if any is reached.
Also, if you choose to join this case, you will be bound by a judgment ultimately entered in this case, whether it is
favorable or unfavorable. If it is unfavorable, you will not owe any money. If it is favorable, you may receive a
portion of the settlement fund. If you join this case, you also may be required to answer written questions, provide
records, and you may have your testimony taken under oath.

If you do not wish to be a part of the lawsuit, you do not need to do anything. If you do not join the lawsuit, you will
not be part of the case and will not be bound by or affected by the result, whether favorable or unfavorable. If you do
not join this case, you will not be able to participate in any settlement, if any is reached, regarding the claims for unpaid
overtime wages. Your decision not to join this case will not affect your right to bring a similar case on your own at a
future time. However, claims under the Fair Labor Standards Act must be brought within two (2) years of the date the
claim accrues, unless the employer's violation of the law was "willful," in which case the claim must be brought within
three (3) years. Therefore, if you delay in filing your claim, the statute of limitations may diminish or even wipe out
your claim.

The attorneys for the Plaintiff are being paid on a contingency fee basis, which means that if there is no recovery there
will be no attorney's fee. The attorneys will not charge you any fees directly. If there is a recovery, the attorneys for
the class will receive a part of any settlement obtained or money judgment entered in favor of all members of the class.

5.      Elite Power cannot fire you for joining this lawsuit.

It is illegal for Elite Power to take any action against you for joining this lawsuit such as terminating your employment,
reducing your hours, pay or benefits. That is, Elite Power cannot retaliate against you for joining this suit. If you
suspect any misconduct, you may contact the attorneys for the Plaintiff identified below so that they may bring it to
the court’s attention immediately. This does not prevent Elite Power for terminating you for any reason unrelated to
you joining this lawsuit.

6.      Your legal representation if you join.

If you choose to join this suit, you will be represented by Beatriz Sosa-Morris and John Neuman of the law firm Sosa-
Morris Neuman, PLLC. Their contact information is below.

7.      How Can You Get More Information?

        You can get more information by calling the Plaintiff’s attorneys:

         Beatriz Sosa-Morris                                          SOSA-MORRIS NEUMAN, PLLC
         Email: bsosamorris@smnlawfirm.com                            5612 CHAUCER DRIVE
         John Neuman                                                  HOUSTON, TX 77005
         Email: jneuman@smnlawfirm.com                                Telephone: (281) 885-8844
                                                                      Facsimile: (281) 885-8813


                                 THIS IS A COURT APPROVED NOTICE.
                        ***THIS IS NOT AN ADVERTISEMENT FROM A LAWYER***
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                         CONSENT TO JOIN COLLECTIVE ACTION AND BE
                         REPRESENTED BY SOSA-MORRIS NEUMAN, PLLC


   x     I, ____________________________________(print name), consent to join the above styled lawsuit seeking
         damages for unpaid wages under the FLSA and any state wage and hour law.

   x     I authorized the named Plaintiff to file and prosecute the above referenced matter in my name, and on my
         behalf, and designate the named Plaintiff to make decisions on my behalf concerning the litigation, including
         negotiating a resolution of my claims, and understand I will be bound be such decisions.

   x     I agree to be represented by Sosa-Morris Neuman, PLLC, counsel for the named Plaintiff.

   x     If my consent form is stricken or if I am for any reason not allowed to participate in this case, I authorize
         Plaintiff’s counsel to use this Consent Form to re-file my claims in a separate or related action against my
         employer.



         Date: _________________________ Signature:         _________________________________


Information below this line will not be filed with the Court:


Estimated start and end dates of work:_________________ to ______________________________
                                                                (put n/a if currently employed)

Street Address:                 ________________________________________

City, State, Zip Code:          ________________________________________

Job Title:              _____________________________________________

Location/s worked for Elite Power: ________________________________________

Phone:                  ________________________________________

Email:          ________________________________________

Date of Birth: _______________________________________

Emergency Contact Name: _______________________________________

Emergency Contact Phone: ________________________________________


         YOU CAN FILL OUT THIS FORM AT WWW.SMNLAWFIRM.COM/ELITEPOWER
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                       AVISO AUTORIZADO POR LA CORTE PARA
                  MIEMBROS POTENCIALES DE LA CLASE DE LITIGANTES

                             FIN DE PLAZO PARA UNIRSE: _____________

PARA:           Todos los ayudantes de electricista sin licencia que trabajan actualmente, o han trabajado
                para Elite Power en los últimos tres años
RE:             Demanda contra Elite Power por salarios no pagados
Número de acción civil: 4: 20-cv-2976 pendiente en el Tribunal de Distrito de los Estados Unidos para el
Distrito Sur de Texas, División de Houston
(VWH$YLVRHVSDUDLQIRUPDUOHGHXQDGHPDQGDFROHFWLYDTXHDOHJDYLRODFLRQHVGHOD/H\GH1RUPDV/DERUDOHV
-XVWDV )DLU/DERU6WDQGDUGV$FW)/6$ (O7ULEXQDOTXHSUHVLGHVREUHHVWHFDVRKDDXWRUL]DGRHOHQYtRGHHVWH
DYLVRSDUDEULQGDUOHODRSRUWXQLGDGGHXQLUVHDHVWDGHPDQGD


1.      ¿Por qué recibe este aviso?

5HFLELyHVWHDYLVRSRUTXHWUDEDMySDUD(OLWH3RZHUFRPRD\XGDQWHGHHOHFWULFLVWDVLQOLFHQFLDHQDOJ~QPRPHQWR
GHVGHHOGHIHEUHURGHKDVWDHOSUHVHQWH6HSUHVHQWyXQDGHPDQGDFRQWUD(OLWH3RZHUHOGHDJRVWRGH
DOHJDQGRTXHDXVWHG\DRWURVD\XGDQWHVGHHOHFWULFLVWDVHOHVGHEHXQVDODULRVHJ~QODOH\IHGHUDO


2.      ¿De qué se trata esta demanda?

%DMRODOH\)DLU/DERU6WDQGDUGV$FW)/6$TXHHVODOH\IHGHUDOTXHFRQWURODHOSDJRGHOVDODULRPtQLPR\HO
SDJRGHODVKRUDVWUDEDMDGDVHQH[FHVRGHODVFXDUHQWDSRUVHPDQDVXMHWRDFLHUWDVH[FHSFLRQHVXQHPSOHDGRGHEH
UHFLELUXQD\PHGLDYHFHVVXVDODULRGHKRUDUHJXODUSRUFDGDKRUDTXHWUDEDMyDUULEDGHODVHQXQDVHPDQDODERUDO
(OGHPDQGDQWHHQHVWHFDVRDOHJDTXH(OLWH3RZHUYLROyHVWDUHJODDOSDJDUOHODPLVPDWDULIDSRUKRUDSRUVXVKRUDV
PHQRVGHODVFXDUHQWDTXHDODVTXHWUDEDMRDUULEDGHODVFXDUHQWDSRUVHPDQD
(OLWH3RZHUQLHJDTXHKD\DYLRODGRODOH\\TXHDGHXGHSDJRVDWUDVDGRVGDxRVFRVWRVRKRQRUDULRVGHDERJDGRV
VROLFLWDGRV(O7ULEXQDOD~QQRKDGHFLGLGRVL(OLWH3RZHUKDKHFKRDOJRPDORRVLHVWHFDVRSDVDUiDMXLFLR6LQ
HPEDUJRWLHQHXVWHGODRSFLyQGHKDFHUYDOHUVXVGHUHFKRVOHJDOHVHQHVWHFDVR


3.      Su derecho a unirse a este caso

6L VH LGHQWLILFD HQ D OD GHILQLFLyQ DQWHULRU SXHGH XQLUVH D HVWH FDVR HV GHFLU SXHGH RSWDU SRU SDUWLFLSDU 
FRPSOHWDQGRHOIRUPXODULRGH&RQVHQWLPLHQWRSDUDXQLUVHDHVWDDFFLyQFROHFWLYD\HQYLiQGRORSRUFRUUHRDOD
VLJXLHQWHGLUHFFLyQ
SOSA-MORRIS NEUMAN, PLLC                                            Toll Free Phone: 1-844-88 LABOR (52267)
ELITE POWER CASE                                                    Phone: 281-885-8844
5612 Chaucer Drive                                                  Fax: 281-885-8813
Houston, Texas 77005

7DPELpQSXHGHGHYROYHUHOIRUPXODULRGH&RQVHQWLPLHQWRSDUDXQLUVHDHVWDDFFLyQFROHFWLYDHQYLiQGRORSRUID[DO
 R FRPSOHWDQGR HO IRUPXODULR HQ OtQHD HQ www.smnlawfirm.com/ElitePower /RV DERJDGRV GHO
GHPDQGDQWHGHEHQUHFLELUHOIRUPXODULRDQWHVGHOBBBBBBBBBBBBBBBBB LQVHUWHODIHFKDGtDVGHVSXpVGHOHQYtR 
              Case 4:20-cv-02976 Document 13 Filed on 02/12/21 in TXSD Page 10 of 11
6LQRGHYXHOYHHOIRUPXODULRGH&RQVHQWLPLHQWRDWLHPSRHVSRVLEOHTXHQRSXHGDSDUWLFLSDUHQHVWDGHPDQGD\R
UHFLELUXQDSDUWHGHXQDFXHUGRPRQHWDULRVLFRUUHVSRQGH

4.      Cuales son tus opciones?

6L HOLJH XQLUVH HQ HVWH FDVR HV HOHJLEOH SDUD SDUWLFLSDU HQ XQ DFXHUGR OHJDO FRQ (OLWH 3RZHU SRU VX VDODULRV QR
SDJDGRVVLVHDOFDQ]DDOJ~QDFXHUGR$GHPiVVLHOLJHXQLUVHDHVWHFDVRHVWDUiOLJDGRDXQMX]JDPLHQWRILQDOHQ
HVWHFDVR\DVHDIDYRUDEOHRGHVIDYRUDEOH6LHVGHVIDYRUDEOHQRGHEHUiVQLQJ~QGLQHURDQDGLH6LHVIDYRUDEOH
SXHGHUHFLELUXQDSDUWHGHOIRQGRGHODFXHUGROHJDO6LVHXQHDHVWHFDVRHVSRVLEOHTXHWDPELpQVHOHVROLFLWHTXH
UHVSRQGDSUHJXQWDVSRUHVFULWRSURSRUFLRQHUHJLVWURV\HVSRVLEOHTXHVHWRPHVXWHVWLPRQLREDMRMXUDPHQWR

6LQRGHVHDVHUSDUWHGHODGHPDQGDQRQHFHVLWDKDFHUQDGD6LQRVHXQHDODGHPDQGDQRVHUiSDUWHGHOFDVR\QR
TXHGDUiREOLJDGRQLDIHFWDGRSRUHOUHVXOWDGR\DVHDIDYRUDEOHRGHVIDYRUDEOH6LQRVHXQHDHVWHFDVRQRSRGUi
SDUWLFLSDUHQQLQJ~QDFXHUGRPRQHWDULRVLVHOOHJDDDOJXQRFRQUHVSHFWRDORVUHFODPRVSRUKRUDVDUULEDGHODV
FXDUHQWDSRUVHPDQDQRSDJDGDVDXQD\XQDYH]HOVDODULRGHKRUDVUHJXODUHV6XGHFLVLyQGHQRXQLUVHDHVWHFDVR
QRDIHFWDUiVXGHUHFKRDSUHVHQWDUXQFDVRVLPLODUSRUVXFXHQWDHQHOIXWXUR6LQHPEDUJRORVUHFODPRVEDMROD/H\
GH1RUPDV/DERUDOHV-XVWDV ³)/6$´ GHEHQSUHVHQWDUVHGHQWURGHORVGRV  DxRVSRVWHULRUHVDODIHFKDHQTXHVH
DFXPXODHOUHFODPRDPHQRVTXHODYLRODFLyQGHODOH\SRUSDUWHGHOHPSOHDGRUKD\DVLGRLQWHQFLRQDOHQFX\R
FDVRHOUHFODPRGHEHSUHVHQWDUVHGHQWURGHORVWUHV  DxRV3RUORWDQWRVLVHGHPRUDHQSUHVHQWDUVXUHFODPRHO
HVWDWXWRGHOLPLWDFLRQHVSXHGHGLVPLQXLURLQFOXVRDQXODUVXUHFODPR

$ ORV DERJDGRV GHO GHPDQGDQWH VH OHV YD D SDJDU KRQRUDULRV GH FRQWLQJHQFLD OR TXH VLJQLILFD TXH VL QR KD\
UHFXSHUDFLyQQRKDEUiKRQRUDULRVGHDERJDGR/RVDERJDGRVQROHFREUDUiQKRQRUDULRVGLUHFWDPHQWH6LKD\XQD
UHFXSHUDFLyQ ORV DERJDGRVGHODFODVHUHFLELUiQ XQDSDUWHGHFXDOTXLHUDFXHUGRREWHQLGRRVHQWHQFLDPRQHWDULD
GLFWDGDDIDYRUGHWRGRVORVPLHPEURVGHODFODVH
5.      Elite Power no puede despedirlo por unirse a esta demanda.

(VLOHJDOTXH(OLWH3RZHUWRPHFXDOTXLHUPHGLGDHQVXFRQWUDSRUXQLUVHDHVWDGHPDQGDFRPRUHVFLQGLUVXHPSOHR
UHGXFLUVXVKRUDVSDJRREHQHILFLRV(VGHFLU(OLWH3RZHUQRSXHGHWRPDUUHSUHVDOLDVFRQWUDXVWHGSRUXQLUVHDHVWD
GHPDQGD 6L VRVSHFKD GH DOJXQD FRQGXFWD LQGHELGD SXHGH FRPXQLFDUVH FRQ ORV DERJDGRV GHO GHPDQGDQWH
LGHQWLILFDGRVDFRQWLQXDFLyQSDUDTXHSXHGDQLQIRUPDUDOWULEXQDOGHLQPHGLDWR(VWRQRLPSLGHTXH(OLWH3RZHUOR
GHVSLGDSRUFXDOTXLHUPRWLYRQRUHODFLRQDGRFRQVXSDUWLFLSDFLyQHQHVWDGHPDQGD

6.      Tu representación legal si te unes.

6LHOLJHXQLUVHDHVWDGHPDQGDHVWDUiUHSUHVHQWDGRSRU%HDWUL]6RVD0RUULV\-RKQ1HXPDQGHOEXIHWHGHDERJDGRV
6RVD0RUULV1HXPDQ3//&6XLQIRUPDFLyQGHFRQWDFWRHVWiDFRQWLQXDFLyQ

7.      ¿Cómo puede obtener más información?

3XHGHREWHQHUPiVLQIRUPDFLyQOODPDQGRDORVDERJDGRVGHOGHPDQGDQWH
Beatriz Sosa-Morris                                                   SOSA-MORRIS NEUMAN, PLLC
(PDLOEVRVDPRUULV#VPQODZILUPFRP                                    &+$8&(5'5,9(
John Neuman                                                           +2867217;
(PDLOMQHXPDQ#VPQODZILUPFRP                                       7HOHSKRQH  
                                                                      )DFVLPLOH  

                               ESTE ES UN AVISO APROBADO POR LA CORTE.
                            *** ESTE NO ES UN PUBLICIDAD DE UN ABOGADO ***
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                   CONSENTIMIENTO PARA UNIRSE A ESTA ACCIÓN COLECTIVA
                    Y SER REPRESENTADO POR SOSA-MORRIS NEUMAN, PLLC


   x     Yo, ____________________________________ (inserta su nombre), doy mi consentimiento para
         unirme a la demanda de daños y perjuicios por salarios no pagados según la ley federal FLSA y
         cualquier ley estatal de salarios y horas.
   x     Autorizo al Demandante designado a presentar y procesar este asunto en mi nombre y de parte mía, y
         designo al Demandante designado para que tome decisiones en mi nombre con respecto al litigio,
         incluida la negociación de una resolución de mis reclamos, y entiendo estar ligado a esas tales
         decisiones.
   x     Acepto ser representado por Sosa-Morris Neuman, PLLC, abogado del Demandante nombrado.
   x     Si mi formulario de consentimiento se anula o si por alguna razón no se me permite participar en este
         caso, autorizo al abogado del demandante a usar este formulario de consentimiento para volver a
         presentar mis reclamos en una acción separada o relacionada contra mi empleador.




         Dia: _________________________       Firma: _________________________________


La información debajo de esta línea no se presentará al Tribunal:


Fechas estimadas de inicio y finalización del trabajo: ____________________ a ____________________
                                                                         (poner n/a si todavía está
                                                                         trabajando con Elite)


Dirección de correo: ____________________________________________________________________
Ciudad, Estado, Código postal: ____________________________________________________________
Título de trabajo: _______________________________________________________________________
Ubicaciones trabajadas para Elite Power: ____________________________________________________
Teléfono: _____________________________________________________________________________
Email:          _________________________________________________________________________
Fecha de nacimiento: ___________________________________________________________________
Nombre del contacto de emergencia: _______________________________________________________
Teléfono de contacto de emergencia: ________________________________________________________


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